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                                           Exhibit C Page 1 of 4

Grow, Stephen

From:                             J. Christian Dennery <jcdennery@dennerypllc.com>
Sent:                             Wednesday, April 17, 2024 10:04 AM
To:                               Grow, Stephen
Subject:                          Re: [EXTERNAL] Re: Mercedes-Benz Financial Services [WNJ-WNJDMS.FID13753348]



Good morning Stephen,

Your right to adequate protection payments is separate and distinct from the right to retain possession of
property of the estate. Moreover, the demand for payment in exchange for the return of the vehicle could
be construed to be violative of Sec. 362(a)(1). Fast Flow will file an adversary action to recover the
vehicle, for compensatory damages, and for attorney fees, if the vehicle is not turned over by Friday.

As for your demand for monthly adequate protection payments of $3,276, it amounts to 3.19% interest
per month (assuming that it is based on an approximate outstanding balance of $102,545.75). This goes
far beyond the 1.75% rate that you proposed. Even so, the 1.75%/ monthly rate amounts to a 21% annual
rate of interest and far exceeds the contract rate and the typical Till rate, which account for any
depreciation in value. Your proposal actually accelerates the frequency of payments due under the
loans.

Flast Flow can agree to pay 1% per month on the outstanding balance. (Excluding the GLS
450) Payments would be made directly to the creditor.

Please advise as to whether your client intends to turn over the vehicle.

J. Christian Dennery, Esq.
Dennery, PLLC
859-445-5495

From: Grow, Stephen <SGrow@wnj.com>
Sent: Tuesday, April 16, 2024 3:58 PM
To: J. Christian Dennery <jcdennery@dennerypllc.com>
Subject: RE: [EXTERNAL] Re: Mercedes-Benz Financial Services [WNJ-WNJDMS.FID13753348]

Christian, MBFS has possession of W1Y4ECHYXMT060270, so it isn’t in impound. If your client is referring to a different
unit, let me know asap and I will look into it. The unit MBFS has is on hold and is not scheduled to be sold.

As far as releasing the equipment back to the debtor, we aren’t willing to do so until we have an acceptable adequate
protection arrangement with Fast Flow. $811.20 is woefully inadequate where the equipment will depreciate at the rate
of $3,276 a month.

Stephen

From: J. Christian Dennery <jcdennery@dennerypllc.com>
Sent: Tuesday, April 16, 2024 1:46 PM
To: Grow, Stephen <SGrow@wnj.com>
Subject: [EXTERNAL] Re: Mercedes-Benz Financial Services [WNJ-WNJDMS.FID13753348]
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Stephen,
My client informs me that the Mercedes has not been released from the impound lot. My client further
informs me that the vehicle is scheduled to be auctioned.
Please advise as soon as possible.
Attached is proof of insurance for all company vehicles.

J. Christian Dennery, Esq.
Dennery, PLLC
859-445-5495

From: J. Christian Dennery <jcdennery@dennerypllc.com>
Sent: Tuesday, April 16, 2024 11:20 AM
To: 'Grow, Stephen' <SGrow@wnj.com>
Subject: Re: Mercedes-Benz Financial Services [WNJ-WNJDMS.FID13753348]

Stephen,
 I am just now finalizing the supplement to the Cash Collateral Motion and a proposed final order. Debtor
is proposing to pay all secured creditors a 9.5% annual rate calculated against the outstanding balance
of the loan as adequate protection. The payments are to be made weekly. Unless otherwise agreed to by
the parties, the funds will be segregated to allow creditors to file claims, and Debtor to make a
determination as to what collateral should be surrendered. Distributions will be made on the earlier of
confirmation, dismissal or conversion.

Below is a summary of the AP payments being proposed as they relate to your client's claim. We can
enter into an AO to to allow for direct payments, if your client agrees to monthly payments. Let me know
if you have any questions.
Please also find proof of insurance coverage for all vehicles.


                                                      

Claimant                       Claim Amount       Weekly APP Monthly APP



Mercedes Benz Financial        $       102,545.75 $       187.34   $     811.20



J. Christian Dennery, Esq.
Dennery, PLLC
859-445-5495


From: jcdennery@dennerypllc.com <jcdennery@dennerypllc.com>
Sent: Thursday, April 11, 2024 2:07 PM
To: 'Grow, Stephen' <SGrow@wnj.com>
Subject: RE: Mercedes-Benz Financial Services [WNJ-WNJDMS.FID13753348]

Stephen,
                                                      2
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Thank you for the updated figures and for the proposal. Debtor is still formulating an amended budget for the final
hearing on the cash collateral motion, which is set to be held on April 18. To that end, Debtor is re-calculating the
pool of secured loans and trying to determine: (1) the total AP payments that could be made to those secured
lenders who have neither entered an appearance nor provided account information; and (2) the amount that
Debtor could afford to pay in regular payments to those creditors who have filed a POC and/or provided current
information about the outstanding balance and monthly payments. My plan is to finalize the amended budget
taking into account all of the information that I have received by the close-of business today.
I will use your figures in my calculations. Mercedes has not yet filed a POC, which would be helpful to get more
precision into the calculations and the presentation to the court.
Feel free to send updated numbers on each vehicle if you have a moment.
I will have something out to you by tomorrow.

        J. Christian Dennery, Esq.
        Dennery, PLLC
        2343 Alexandria Drive, Suite 145
        Lexington, KY 40504
        Tel: (859) 445-5495
        Fax: (859) 286-6726

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From: Grow, Stephen <SGrow@wnj.com>
Sent: Wednesday, April 10, 2024 2:04 PM
To: cm@dennerypllc.com
Subject: RE: Mercedes-Benz Financial Services [WNJ-WNJDMS.FID13753348]

Settlement Communication subject to FRE 408 and all State law equivalents

Christian, following up on our call. Here are the data points for setting an AP payment. (I have asked my client to
confirm these numbers):
1.      Prepetition claim amount: $209,386.32
2.      Value of collateral (assuming the equipment has been maintained) based on the Manheim Market Report:
$187,200.
3.      Regular monthly loan payment total: $5,830.69

As I explained, my client’s approach to adequate protection payments is to calculate expected depreciation from and
after the petition date because that is the best measure of post-petition “decrease in value.” Generally, equipment
MBFS finances will depreciate at a range of 1.5% to 2.5% per month, depending on use. For example, trucks hauling
logs/concrete block, mined ore, ect. will depreciate fastest. Delivery/service vehicles like the equipment MBFS financed
here, will usually depreciate slower. So, using a rate in the lower range of 1.75%, the equipment will depreciate at
$3,276 a month. So, that’s the adequate protection payment.


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To be clear, my client hasn’t approved this as an offer yet, but I wanted to give you the math and resulting payment
using MBFS’ customary protocol. Also, this analysis assumes that the equipment has been maintained and is in average
condition.

Let me know if you have questions or would like to discuss. If this is acceptable, I will get my client to buy in and put
together a joint order for your review.


        Stephen B. Grow | Partner
        Warner Norcross + Judd LLP
        1500 Warner Building, 150 Ottawa Ave N.W., Grand Rapids, MI 49503
        d 616.752.2158 | sgrow@wnj.com | profile | V-Card

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From: Grow, Stephen
Sent: Friday, April 05, 2024 4:53 PM
To: 'cm@dennerypllc.com' <cm@dennerypllc.com>
Subject: Mercedes-Benz Financial Services [WNJ-WNJDMS.FID13753348]

Christian, following up on my VM. I represent Mercedes-Benz Financial Services. I understand MBFS repossessed a
vehicle prior to the petition date and that your client has asked for the equipment back. I am happy to discuss that and
adequate protection.

Best number to reach me at is (616) 446 -3847

        Stephen B. Grow | Partner
        Warner Norcross + Judd LLP
        1500 Warner Building, 150 Ottawa Ave N.W., Grand Rapids, MI 49503
        d 616.752.2158 | sgrow@wnj.com | profile | V-Card

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